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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                       CIVIL MINUTES - GENERAL
 Case No.       CV20-08035-SVW (JPRx)                                             Date   April 15, 2021
 Title          Hong Liu v. Faraday & Future Inc. et al.




 Present: The                 Jean P. Rosenbluth, United States Magistrate Judge
 Honorable
                    Bea Martinez                                               CS 4/15/2021
                    Deputy Clerk                                         Court Reporter / Recorder
           Attorneys Present for Plaintiffs:                         Attorneys Present for Defendant:
                  Amiad M. Kushner                                              Kevin A. Crisp
                   Kevin D. Hughes                                            Lauren E. Grochow
                   Jacob Nachmani

 Proceedings:               (IN COURT): Defendants’ Motion to Compel Plaintiff Hong Liu’s Production
                            of Documents and Further Response to Defendants’ Request for Production,
                            Set One held telephonically

         Case is called. Counsel make their appearances. Court addresses parties. Argument heard.

         For the reasons stated on the record at the hearing:

         Defendants’ motion to compel production of documents and further responses is GRANTED in large part
as outlined at the hearing. Plaintiff must produce all responsive medical records to Defendants no later than
April 19, 2021. Defendants’ request for sanctions under Federal Rule of Civil Procedure 37(a)(5)(C) is GRANTED in
the amount of $999. Plaintiff must pay that amount to Defendants no later than seven days from the date of the
hearing. Defendants’ request for sanctions under Local Rule 37 is DENIED.

        Plaintiff’s expedited motion concerning pending discovery disputes must be filed no later than April 16,
2021. Defendants’ opposition is due April 22, 2021. The Court will rule as soon thereafter as it can. The parties
should specify in their filings on what date they request that Plaintiff’s remaining production of documents be
made. If Judge Wilson denies the parties’ stipulation to continue case‐management dates, which they are to file
no later than today, April 15, the Court may immediately order a due date for Plaintiff’s remaining production of
documents.

         cc: Judge Wilson



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                                                                Initials of Preparer              bm


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